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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,                    *

       Plaintiff,                            *

       v.                                    *                                         CIVIL NO. JKB-17-00099

BALTIMORE POLICE DEPARTMENT, *
et al.,
        Defendants.          *
                           o0o

            BALTIMORE POLICE DPEARTMENT’S REPORT REGARDING
                         HIRING AND ATTRITION
       Pursuant to the Court’s Order, ECF No. 282, dated January 23, 2020, the Baltimore Police

Department respectfully submits the attached monthly report on new hire and attrition data for the

month of March 2020.



Dated: April 6, 2020                         Respectfully submitted,

                                                           /s/
                                                    __________________________________________________________________________________________________________________________________________________________________________________




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